Case 1:02-cV-01152-.]DB-tmp Document 600 Filed 06/17/05 Page 1 of 8 Page|D 699

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01 129/53503-|\/100 "*----.D.C,
1N THE UNITED ST/-\TES DlSTRlcT cOURT 05 JU~ '7 PH l¢.' 110
FOR THE WESTERN DlSTRICT OF TENNESSEE w
EASTERN Dl\/lSlON '§L;£.§K 613 D¢DTROL:O

LARRY STE\/E MELTON, LARRY S. MELTON,
and R & J OF TENNESSEE, |NC.,

Plaintif"fs,

NO.:1-02-1152 B
.JURY DEMAN.DED

VS.

BANK OF LEX|NGTON branch Of BANK OF FRIENDSHIP,
TERESA HARR|S, B & H |NVESTMENTS, |NC., BENN]E
FES|V||RE, D|ANE TUCKER, HAROLD WALDEN
BLANKENSH|P, DEAN BLANKENSH|P, FRANK£E
STANF[LL, KEVIN CARTER, The law firm of M|LA|V|,
CARTER & STANF|LL, REG|NA M|LLER, TODD
HENDERSON, WlLL|A[\/l W|LH|TE, DAV[D R|DD|CK,
The law firm Of HOL|V|ES, R|CH, S|GLER & R|DD|CK,
DON VVEBSTER, J|IVH\/|Y BARBOUR, VVALDON GVV|NN,
JAMES PUTNAIV|, THV| P|LK|NGTON, JAI\/IES E. S|VI|TH,
|\/l. V. W|LL|AMS, JR., |NVESTMENT MANAGE|\/IENT
F|NANCE, |NC., and JOHN DOES |, ||, ||1and |V,

V`/VVVVV\_/VVVVH_/V\-/VVVVVV

Defendants.

HAROLD VVALDEN BLANKENSHIP,
Defendant/Third F’arty P|aintiff,
vs.

JOHN N|ELTON, HOWARD DOUGLASS, A|V|ER!CAN
HOME F|NANC|AL SERVICES, |NC., A|ViER|C/~\N
HOME F|NANC|AL SERV!CES ||, |NC., BLANKENSH|P/
MELTON AVlATlON, |NC., LARRY STEVE IV|ELTON,
LARRY S. I\/|ELTON, R & J OF TENNESSEE, |NC.,
BANK OF LEX|NGTON, BRANCH OF FR|ENDSH|P,

`_/`¢__¢\¢_/\¢_/‘~_IVVVVV‘-»_/VVV

Third Party Defendants.

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Thls document entered on the docket sh_ee)a_f\ p §

with Rule 58 andfor 79 (a) FF¢CP on 10

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01 129/58503-1\/1 DC

LARRY S. IV|ELTON,

P|aintiff/Third Party Defendant/
Third F’arty Plaintitf,

VS.

BRADLEY KlRK, CARTER, STANFlLL & K|RK, PLLC,
DAN|EL PERKY, SH|RLEY BLANKENSHIP, KELLV VV.
BLANKENSH|P, BLANKENSH|P CONSTRUCTION, LLC.,
BLANKENSH|P/|V|ELTON REAL ESTATE, |NC., BETH
IV|ALOAN, JENNiFER AZB|LL, .|ACK HOL!`\/IES. PAU|_
PR|DDY, |V|ICKEY GRANGER, DENN|S HUBBARD,
K.C. ARNETT, R|CHARD MCCORM|CK, BLANKENSH|P
BROTHERS’ CONSTRUCT|ON CON|PANY, C|TY OF
LEXINGTON, KEV|N CARTER, FRANKIE STANF|LL,
HAROLD WALDEN BLANKENSH|P, DEAN
BLANKENSH|P, REG|NA N|tLLER, W|LL|AN| W|LH|TE,
DAV!D R|DD|CK, J|MN|Y BARBOUR, VVALDON GW|NN,
JAMES PUTNAI\/|, TIIV| P|LK|NGTON, JA|'\/|ES E. SN||TH,
M. V. VV|LLlAMS, JR., BANK OF LEX|NGTON, Branch Of
BANK OF FR|ENDSH!P, B & H |NVEST|V|ENTS, |NC.,
BENN|E FES|VHRE, D|ANE TUCKER, and JOHN DOE |,

vvvv\_z\_/VVVVV\_/\_/VWV\_/VW~._/-.__¢\-._/\-._r-._r\._z

Third Party Detendants.

 

ORDER D|SM|SSING THE COUNTER CLA|MSICROSS-CLA|N|S CONIPLA|NT
OF LARRY S. NlELTON

 

This matter came before this Court on |V|ay 27, 2005, upon P|aintitf/Third-Party
Defendant/Third-Party Plaintiff Larry S. |Vle|ton’s counterclaims and cross-claims against
Defendants and Thirc|-Party Defendants, James E. Smith, Wit|iam Wi|hite, Diane Tucker,
Regina Mi|ter, Todd Henderson, Don Webster, Jimmy Barbour, Wa|don Gwinn, James
Putnam, Tim Pi|kington, |V|.V. Wi||iarns, Jr., City of Lexington, Frankie Stanfiit, Kevin Carter,

David Ric|dick, the law firm of Holmes, Rich, Sig|er & Riddick, B & H |nvestrnents, lnc., and

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Bennie Fesmire, and the responses of said Defendants and Third-Party Defendants to
P|aintiff/Third-Party Plaintiff’s counterclaims and cross-claims.

Federa| Ru|e of Civil Procedure 14 governs third-party practice Rule t4(a) allows
for a defending party, as a third-party plaintiff to bring in “a person not a party to the action
who is or may be liable to the third-party plaintiff for all or part of the plaintiffs claim against
the third-party plaintiff." Fed. R. Civ. P. 14(a). Rule 14(b) further allows a plaintiff, upon a
counterclaim being asserted against him, to bring in a third party "under circumstances
Which under this rule would entitle a defendant to do so.” Fed. R. Civ. P. 14(b). The Court
finds that l_arry S. l\/lelton's further counterclaims and cross-claims were asserted against
individuals and entities who are the original Defendants in this case and thus, who are
already parties to this iawsuit. Ru|e 14(a) therefore does not allow for third-party claims to
be brought against these individuals and entities. Because the Defendants Wouid not be
allowed to bring third-party claims against these persons, the P|aintiff/Counter-Defendant
also is not allowed to bring such additional claims under Ru|e 14(b).

Federa| Ru|e of Civil Procedure 15 governs amendments to pleadings and allows
for such under a strict time tab|e:

A party may amend the party’s pleading once as a matter of course at any

time before a responsive pleading is served, or ifthe pleading is one to which

no responsive pleading is permitted and the action has not been placed upon

the trial calendar, the party may so amend it at any time within 20 days after

it is served.

Fed. R. Civ. P. 15(a). A party may otherwise amend his pleading only by leave of court or

by written consent of the adverse party. M. Local Ru|e of Court for the Western District of

Tennessee 7.2 further prescribes certain conditions forfi|ing motions in this Court, including

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the requirement of a certificate that the movant has consulted with counsel and that the
parties are either able or unable to reach agreement as to the issues or the action
requested by the motion. L.R. 7.2(a)(1)(B). The Court finds that Plaintiff/Counter-
Defendant Larry S. l\/lelton, in filing his further counterclaims and cross-claims against the
original Defendants, has not met the requirements of either Ru|e 15 or the Local Rules of
this Court.

lt is therefore ORDERED that Plaintiff Larry S. l\/lelton’s further counterclaims and

cross-claims against the Defendants are dismiss

   

n is so oRr)EREo this l 7+"` day cf , 2005.

 

J. o NiEL BREEN \
uNi ED sTATEs oisTRicT JuocE

APPROVED FOR ENTRY:

RA|NEY, K|ZER, REV| E & BELL, PLC

By;

 

DALE co‘ND r<, Jn., BPR15419
Attorneys fo Defendant City of
Lexington, N

P.O.Box1 47

Jackson, § 38302-1147

(731) 423»2414

Case 1:02-cv-01152-.]DB-tmp Document 600 Filed 06/17/05 Page 5 of 8 PagelD 703

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CERT|F|CATE OF SERV|CE

 

The undersigned certifies that a true copy of this pleading or document was served
upon counsel for each ofthe parties by mailing postage prepaid or by delivery to the person

or office of such counsel.

l\/lr. Larry S. lVlelton, Pro Se
116 Hidden Val|ey Cove
Lexington, TN 38351

l\/lr. Tim Edwards
l\/lr. Robert Cox

Glassman, Edwards, Wade & Wyatt, P.C.

26 North Second Street
l\/lemphis, TN 38103

l\/lr. Richard G|assman
l\/lr. R. Douglass Hanson

Glassman, Edwards, Wade & Wyatt, P.C.

26 North Second Street
lvlemphis, TN 38103

Mr. L. Lee Harrell

Harrell & Harrell

110 Northwest Court Square
Trenton, TN 38382

l\/|r. Daniel D. War|ick

Warlick Law Office

611 Commerce Street, Suite 2712
Nashvi|le, Tl\l 37203

This the 13th day ofJune, 2005.

l\/lr. Wi|liam S. Wa|ton
l\/lil|er and l\/lartin

1200 One Nashvi|le Place
150 Fourth /-\ve. N
Nashville, TN 37219-2433

l\/lr. James L. Kirby

|\/lr. Jeffrey l_. Griffin

Harris, Shelton, Dun|ap, Cobb & Ryder
One Commerce Square, Suite 1700
40 South |\/lain Street

l\/lemphis, TN 38103

l\/lr. Jerry l':'. l\/litchel|

l\/lr. Craig C. Con|ey

Thomason, Hendrix, Harvey, Johnson &
l\/litche|l

One Commerce Square, Suite 2900

40 S. l'\/lain Street

l\/lemphis, TN 38103

l\/lr. Bradley G. Kirk
Carter, Stanfi|l & Kirl<
25 Natchez Trace Drive
P.O. Box 476
Lexington, TN 38351

j

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 600 in
case 1:02-CV-01152 Was distributed by faX, mail, or direct printing on
June 20, 2005 to the parties listed.

ESSEE

 

John D. Burleson

RAINEY KIZER REVIERE & BELL
105 S. Highland Avenue

Jackson7 TN 38302--114

Milton Dale Conder

RAINEY KIZER REVIERE & BELL
105 S. Highland Ave.

P.O. Box 1147

Jackson7 TN 38302--114

William F. Burns
WATSON BURNS, LLC
One Commerce Square
Ste. 2600

1\/lemphis7 TN 38103

Jeffrey L. Griffin

HARRIS SHELTON DUNLAP COBB & RYDER
One Commerce Square

Ste. 2700

1\/lemphis7 TN 38103

Richard Glassman

GLASSMAN EDWARDS WADE & WYATT, P.C.

26 N. Second Street
1\/lemphis7 TN 38103

John T. DoWning

Federal Deposit lns. Corp.
550 17th Street NW
Washington, DC 20429

Tim EdWards

GLASSMAN EDWARDS WADE & WYATT, P.C.

26 N. Second Street
1\/lemphis7 TN 38103

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Robert A. Cox

GLASSMAN EDWARDS WADE & WYATT, P.C.
26 N. Second Street

1\/lemphis7 TN 38103

Beth Maloan
83 Bonaire Circle
Jackson7 TN 38305

Bradley G. Kirk

CARTER STANFILL & KIRK
25 Natchez Trace Dr.
Lexington, TN 38351

J ames L. Kirby

HARRIS SHELTON DUNLAP COBB & RYDER
One Commerce Square

Ste. 2700

1\/lemphis7 TN 38103

John D. Stevens

RAINEY KIZER REVIERE & BELL
209 East Main Street

P. O. BoX 1147

Jackson7 TN 38302--114

Jerry E. Mitchell

THOMASON HENDRIX HARVEY JOHNSON & MITCHELL
40 S. Main St.

Ste. 2900

1\/1emphis7 TN 38103--552

Craig C. Conley

THOMASON HENDRIX HARVEY JOHNSON & MITCHELL
40 South Main Street

Ste. 2900

1\/lemphis7 TN 38103

L. Lee Harrell

HARRELL & HARRELL
110 Northwest Court Sq.
Trenton, TN 38382

Jeffrey L. Griffin

HARRIS SHELTON DUNLAP COBB & RYDER
2700 One Commerce Square

1\/lemphis7 TN 38103

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R. Douglas Hanson

GLASSMAN EDWARDS WADE & WYATT, P.C.
26 N. Second Street

1\/lemphis7 TN 38103

Daniel D. Warlick

LAW OFFICE OF DAN WARLICK
611 Commerce Street

Ste. 2712

Nashville, TN 37203

Larry S. Melton
116 Hidden Valley Cove
Lexington, TN 38351

William S Walton
1\/1[LLER & MARTIN
1200 One Nashville Place
150 Fourth Ave. North
Nashville, TN 37219--243

Honorable J. Breen
US DISTRICT COURT

